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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

Nelson L. Bruce,                               ) Civil Action No. 2:21-CV-00895-BHH-MGB
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )
                                               )       DEFENDANT’S MOTION FOR
T-Mobile USA, Inc., et al.,                    )    JUDGMENT ON THE PLEADINGS
                                               )
               Defendants.                     )
                                               )
                                               )

       Defendant, T-Mobile USA, Inc. (“Defendant” or “T-Mobile”), by and through its

undersigned counsel, hereby respectfully moves this Court to issue a judgment on the pleadings

under Fed. R. Civ. P. 12(c) in favor of Defendant. Defendant is entitled to a judgment as a

matter of law based on the allegations pleaded in Nelson L. Bruce’s (“Plaintiff”) Complaint

against Defendant in the above-captioned lawsuit. Defendant respectfully requests that this

Court dismiss Plaintiff’s Complaint with prejudice

       In further support of this Motion, Defendant offers the Federal Rules of Civil Procedure,

applicable statutory and case law, the pleadings, arguments of counsel that may be advanced at

any hearing, and memoranda of law in support of this Motion filed by Defendant, including but

not limited to, the accompanying Memorandum of Law in Support of this Motion for Judgment

on the Pleadings and attachments thereto.
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                                      Respectfully submitted,


                                      s/ M. Claire Flowers
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                                      ATTORNEYS FOR DEFENDANT T-MOBILE
                                      USA, INC.


October 5, 2021

Charleston, South Carolina




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                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

Nelson L. Bruce,                             ) Civil Action No. 2:21-CV-00895-BHH-MGB
                                             )
                Plaintiff,                   )
                                             )
       v.                                    )
                                             )       CERTIFICATE OF SERVICE
T-Mobile USA, Inc. et al.,                   )
                                             )
                Defendants.                  )
                                             )
                                             )

       I hereby certify that a copy of DEFENDANT’S MOTION FOR JUDGMENT ON

THE PLEADINGS has been served upon Plaintiff by mailing a copy of the same to him,

postage prepaid, in the United States Mail, to the address as shown below, on the 5th day of

October 2021:


                              Nelson L. Bruce
                              144 Pavilion Street
                              Summerville, SC 29483




                                              s/ M. Claire Flowers
                                              M. Claire Flowers (Fed. ID No. 13411)
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